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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                               MIAMI DIVISION
                              CASE NO. 14-20555-CR-GAYLES
    3

    4    UNITED STATES OF AMERICA,               Miami, Florida

    5                      Plaintiff,            October 16, 2014

    6                vs.                         10:43 a.m. to 10:57 a.m.

    7    ANTHONY PUBLIO BOSCH,

    8                   Defendant.          Pages 1 to 13
         ____________________________________________________________
    9

   10                              CHANGE OF PLEA
                        BEFORE THE HONORABLE DARRIN P. GAYLES
   11                       UNITED STATES DISTRICT JUDGE

   12
         APPEARANCES:
   13
         FOR THE GOVERNMENT:          PATRICK SULLIVAN, ESQ., and
   14                                 SHARAD MOTIANI, ESQ.,
                                      ASSISTANT UNITED STATES ATTORNEY
   15                                 99 Northeast Fourth Street
                                      Miami, Florida 33132
   16
         FOR THE DEFENDANT:           GUY LEWIS, ESQ.
   17                                 LEWIS TEIN, PL
                                      3059 Grand Avenue
   18                                 Suite 340
                                      Coconut Grove, Florida 33133
   19                                         - and -
                                      SUSY RIBERO-AYALA, ESQ.
   20                                 201 Alhambra Circle
                                      Suite 1200
   21                                 Coral Gables, Florida 33134

   22    REPORTED BY:                PATRICIA DIAZ, RPR, FPR
                                     Official Court Reporter
   23                                United States District Court
                                     400 North Miami Avenue, Tenth Floor
   24                                Miami, Florida 33128
                                     (305) 523-5178
   25
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    1              (Call to the order of the Court)

    2              COURTROOM DEPUTY:    Calling United States versus Anthony

    3    Publio Bosch, case number 14-CR-20555.        Counsel, please state

    4    your appearance for the record.

    5              MR. SULLIVAN:    On behalf of the United States, AUSA

    6    Sullivan and Motiani.

    7              MR. LEWIS:   Good morning, on behalf of Mr. Bosch, who

    8    is present, Guy Lewis and Ms. Ribero-Ayala.

    9              THE COURT:   All right.    Good morning.     The Court is

   10    noting the presence of the defendant, Mr. Bosch.

   11              All right.   We are set for a change of plea, and we

   12    also have a motion related to his bond.        I'd like to first deal

   13    with his plea agreement and then take up the bond issue.

   14              All right.   Mr. Publio Bosch, I need you to please

   15    raise your right hand and be sworn.

   16              (The defendant was duly sworn.)

   17              COURTROOM DEPUTY:    He has been sworn, Your Honor.

   18              THE COURT:   Okay.   Can you approach the podium?

   19              I don't know if the court reporter caught it, but he

   20    did answer in the affirmative in his oath.

   21              All right.   Mr. Bosch, it is my understanding that you

   22    want to change your previously entered plea of not guilty to

   23    guilty to the single count of the information, which count

   24    charges you with conspiracy to distribute testosterone in

   25    violation of Title 21, United States Code Section 846 -- well,
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    1    it's in violation of Title 21, United States Code

    2    Section 841(a)(1), all in violation of Title 21, United States

    3    Code Section 846.      Is that what you want to do?

    4              THE DEFENDANT:    Yes, Your Honor.

    5              THE COURT:    Please tell me your full name, sir.

    6              THE DEFENDANT:    My full name is Anthony Publio Bosch.

    7              THE COURT:    What is your age?

    8              THE DEFENDANT:    I am 51 years old.

    9              THE COURT:    What is your highest level of education?

   10              THE DEFENDANT:    I have a doctorate degree from a

   11    foreign medical college.

   12              THE COURT:    Are you currently under the influence of

   13    any alcohol, narcotics or medication?

   14              THE DEFENDANT:    No, Your Honor.

   15              THE COURT:    Have you ever suffered from or been

   16    diagnosed with a mental illness?

   17              THE DEFENDANT:    No, Your Honor.

   18              THE COURT:    I have before me a written plea agreement.

   19    The written plea is nine pages long.        It bears the signature of

   20    several people, including Mr. Sullivan, Assistant United States

   21    Attorney; Mr. Motiani, also an Assistant United States

   22    Attorney; your attorneys, Mr. Lewis and Ms. Ribero-Ayala and

   23    what purports to be your signature dated July 29th, 2014.

   24              Is that your signature in the last page of this written

   25    plea agreement?
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    1               THE DEFENDANT:   Yes.   Yes, Your Honor.

    2               THE COURT:   All right.   Did you read and understand

    3    that written plea?

    4               THE DEFENDANT:   Yes, Your Honor.

    5               THE COURT:   And did you also have an opportunity to

    6    discuss all the terms of the plea agreement with your

    7    attorneys?

    8               THE DEFENDANT:   Yes, I was able to do that, Your Honor.

    9               THE COURT:   All right.   I want to talk about just some

   10    of the provisions of the plea agreement.        As set forth in

   11    paragraph three, the maximum term of imprisonment for the

   12    offense for which you are pleading guilty today is ten years.

   13    Do you understand that?

   14               THE DEFENDANT:   Yes.

   15               THE COURT:   And you understand that any term of

   16    imprisonment will be followed by a period of supervised release

   17    of at least two years, and that period could be up to life.           Do

   18    you understand that?

   19               THE DEFENDANT:   I understand that, Your Honor.

   20               THE COURT:   You understand as well that the Court may

   21    impose a fine of up to $500,000?

   22               THE DEFENDANT:   Yes, Your Honor.

   23               THE COURT:   Do you also understand that at your

   24    sentencing a special assessment will be imposed in the amount

   25    of $100?
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    1              THE DEFENDANT:    Yes, Your Honor.

    2              THE COURT:   In paragraph ten of the written plea

    3    agreement, the Government and you agree that you will jointly

    4    make some recommendations to the Court related to your

    5    sentencing.     One of those recommendations is that the quantity

    6    of drugs or controlled substances involved in this case involve

    7    at least 5,000 units of testosterone but less than

    8    10,000 units.    Do you understand that?

    9              THE DEFENDANT:    Yes, Your Honor.

   10              THE COURT:   And you are jointly recommending that you

   11    should receive a three level increase as a manager and

   12    supervisor of a criminal activity that involved five or more

   13    participants.

   14              Do you understand that?

   15              THE DEFENDANT:    Yes, Your Honor.

   16              THE COURT:   Do you understand that you are jointly

   17    recommending that you receive a two level increase for abuse of

   18    a position of trust.     Do you understand that?

   19              THE DEFENDANT:    Yes, Your Honor.

   20              THE COURT:   You understand that you are jointly

   21    recommending that you receive a two level increase for

   22    distribution of an anabolic steroid and a masking agent?

   23              THE DEFENDANT:    Yes, Your Honor.

   24              THE COURT:   Do you also understand that you are jointly

   25    recommending to the Court that you receive a two level increase
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    1    for distribution of an anabolic steroid to an athlete?

    2              THE DEFENDANT:    Yes, Your Honor.

    3              THE COURT:   Do you also understand that you are jointly

    4    recommending to the Court that you should receive a two level

    5    increase for maintaining a premises for the purpose of

    6    manufacturing or distributing controlled substances?

    7              THE DEFENDANT:    Yes, Your Honor.

    8              THE COURT:   Do you also understand that they are

    9    jointly recommending that you should receive a two level

   10    increase for having distributed a controlled substance to an

   11    individual that you knew was less than 18 years of age?

   12              THE DEFENDANT:    Yes, Your Honor.

   13              THE COURT:   As set forth in paragraph 14, you are

   14    agreeing to waive your right to appeal any sentence imposed,

   15    unless I impose a sentence that exceeds the maximum permitted

   16    by statute or depart upward from the advisory guideline range.

   17    Do you understand that as well?

   18              THE DEFENDANT:    Yes, Your Honor.

   19              THE COURT:   Do you have any questions about any of the

   20    terms that are set forth in this written plea agreement?

   21              THE DEFENDANT:    No, Your Honor, I understand it.

   22              THE COURT:   And, again, have you had a sufficient

   23    opportunity to discuss all the terms of the plea agreement with

   24    your attorney?

   25              THE DEFENDANT:    Yes, Your Honor.
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    1              THE COURT:   Has anyone promised you anything other than

    2    what is set forth in the written plea agreement in order to get

    3    you to enter into this plea?

    4              THE DEFENDANT:    No, Your Honor.

    5              THE COURT:   Has anyone threatened or forced you to

    6    enter into this plea?

    7              THE DEFENDANT:    No, Your Honor.

    8              THE COURT:   In order to accept this plea, you must

    9    waive some valuable rights that are associated with trial.

   10    Those rights include your right to have a jury trial in this

   11    case and your right to have the Government prove the charges

   12    against you beyond a reasonable doubt.

   13              You have a right to be represented by both of your

   14    attorneys.    You have the right to cross examine any of the

   15    Government's witnesses, the right to compel their your own

   16    witnesses and compel their appearance by subpoena.          You have a

   17    right to testify on your own behalf or to exercise your right

   18    to remain silent, and ordinarily your right to appeal any

   19    negative ruling that might have been entered against you.

   20              Do you understand each of those rights?

   21              THE DEFENDANT:    Yes, Your Honor.

   22              THE COURT:   Do you waive those rights in this case so

   23    you can accept the plea?

   24              THE DEFENDANT:    Yes, Your Honor.

   25              THE COURT:   Do you understand if you are not a United
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    1    States citizen this plea can subject to you deportation?

    2              THE DEFENDANT:    Yes, Your Honor.

    3              THE COURT:   Have you discussed that possibility with

    4    your attorney?

    5              THE DEFENDANT:    Yes, Your Honor.

    6              THE COURT:   With that understanding, do you still want

    7    to enter into this plea?

    8              THE DEFENDANT:    Yes, Your Honor.

    9              THE COURT:   Based on your guilty plea, you will be

   10    adjudged guilty of the offense set forth in the indictment.

   11    That adjudication will deprive you of some civil rights and

   12    benefits, such as your right to vote if you are a United States

   13    citizen, your right to hold public office, your right to serve

   14    on a jury, your right to possess a firearm, your eligibility to

   15    reside in public housing, your eligibility to keep or obtain

   16    professional licenses and any number of other what we call

   17    collateral consequences of your plea, meaning things that are

   18    not specifically related to your actual sentence.          Do you

   19    understand that?

   20              THE DEFENDANT:    Yes, Your Honor.

   21              THE COURT:   Have you had sufficient opportunity to

   22    discuss those other possibilities or consequences with your

   23    attorneys?

   24              THE DEFENDANT:    Yes, Your Honor.

   25              THE COURT:   Have you and your attorneys discussed how
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    1    the sentencing guidelines might apply to your case?

    2               THE DEFENDANT:   Yes, Your Honor.

    3               THE COURT:   Once we conclude the plea colloquy today,

    4    the matter will be set for a sentencing hearing, and to prepare

    5    for that sentencing hearing, I am going to refer the matter to

    6    Probation to conduct an investigation and a report.          You are

    7    going to be asked to provide information for that report.           Your

    8    attorneys may provide information for that report and so will

    9    the Government.    And then after the report is compiled, you

   10    will be able to make objections to the report that you deem are

   11    proper.    But it is not until the actual sentencing hearing

   12    where I can make a final determination based on the facts and

   13    the law that I can determine definitively what your guidelines

   14    will be.    Do you understand that?

   15               THE DEFENDANT:   Yes, Your Honor.

   16               THE COURT:   Do you understand that if your sentence is

   17    more severe than you expected, you will still be bound by your

   18    guilty plea and you will have no right to withdraw it?

   19               THE DEFENDANT:   Yes, sir.

   20               THE COURT:   Do you under also understand that parole

   21    has been abolished and if you are sentenced to prison, you will

   22    not be released on parole?

   23               THE DEFENDANT:   Yes, Your Honor.

   24               THE COURT:   Have you had enough time to discuss this

   25    case and this plea with your attorneys?
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     1             THE DEFENDANT:    Yes, Your Honor.

     2             THE COURT:    Have you discussed with your attorneys all

     3   possible defenses that you might have?

     4             THE DEFENDANT:    Yes, Your Honor.

     5             THE COURT:    Have you had any difficulty communicating

     6   with either of your attorneys?

     7             THE DEFENDANT:    No, Your Honor.

     8             THE COURT:    Have your attorneys done everything that

     9   you have asked them to do?

   10              THE DEFENDANT:    Yes, Your Honor, absolutely.

   11              THE COURT:    Are you fully satisfied with their

   12    representation?

   13              THE DEFENDANT:    Yes, I am.

   14              THE COURT:    I also have a written factual proffer.        The

   15    proffer is seven pages long.       It also bears the signatures of

   16    Mr. Sullivan, Mr. Motiani, Mr. Lewis, Ms. Ribero-Ayala and what

   17    appears to be your signature dated August 5th of 2014.           Is that

   18    your signature on the last page of this document?

   19              THE DEFENDANT:    Yes, Your Honor.

   20              THE COURT:    Did you read and understand all of the

   21    facts that are contained in this written factual proffer?

   22              THE DEFENDANT:    Yes, Your Honor.

   23              THE COURT:    Are the facts that are contained in this

   24    written factual proffer accurate?

   25              THE DEFENDANT:    Yes, they are, Your Honor.
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     1             THE COURT:    Mr. Sullivan, is there any need to have an

     2   oral recitation of the facts in this case?

     3             MR. SULLIVAN:    The Government doesn't believe that's

     4   necessary, Your Honor.

     5             THE COURT:    Okay.   Also, Mr. Lewis, do you stipulate

     6   that there is a factual basis for the plea in this case?

     7             MR. LEWIS:    We do, Judge.

     8             THE COURT:    All right.    Mr. Bosch, how do you now plead

     9   to the charge, the single count set forth in the information,

   10    conspiracy to distribute a schedule three controlled substance?

   11              THE DEFENDANT:    Guilty, Your Honor.

   12              THE COURT:    And are you entering that guilty plea

   13    because you are, in fact, guilty of this offense?

   14              THE DEFENDANT:    Yes, Your Honor.

   15              THE COURT:    All right.    Based on your responses, I find

   16    that you have freely, voluntarily and intelligently waived your

   17    rights, that you are knowingly and voluntarily accepting your

   18    plea, that you understand the nature of the charges and the

   19    consequences of the plea and that there is a factual basis for

   20    the plea based upon my review of the record, the written

   21    factual proffer, as well as the stipulation by your attorney,

   22    Mr. Lewis.

   23              Therefore, I will accept your plea of guilty and

   24    adjudicate you guilty of a single count in the information.

   25    And this matter will be set for a sentencing hearing.
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     1             As I have already told you, a written presentence

     2   report will be prepared to assist me in sentencing.          You are

     3   going to be asked to provide information to probation to assist

     4   that officer in preparing the report and one or both of your

     5   attorneys may be present with you while you are providing that

     6   information.

     7             Both you and your attorneys will be permitted to read

     8   the report prior to the sentencing hearing.         If you have any

     9   objection to anything that is contained in the report, those

   10    objections must be filed in writing with the Court at least

   11    14 days prior to your sentencing hearing and both you and your

   12    attorney or attorneys will be afforded the opportunity to speak

   13    on your behalf at the sentencing hearing.

   14              This matter is now referred to probation to conduct a

   15    presentence investigation.      Your sentencing hearing will be on

   16    what date?

   17              COURTROOM DEPUTY:     December 18th at 9:30 a.m.

   18              THE COURT:    December 18th at 9:30.

   19              (Change of plea hearing was concluded at 10:57 a.m.)

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     1                           C E R T I F I C A T E

     2

     3               I hereby certify that the foregoing is an

     4   accurate transcription of the proceedings in the

     5   above-entitled matter.

     6

     7
         November 20, 2014      /s/Patricia Diaz
     8   DATE                   PATRICIA DIAZ, RPR, FPR
                                Official Court Reporter
     9                          United States District Court
                                400 North Miami Avenue, Tenth Floor
   10                           Miami, Florida 33128
                                (305) 523-5178
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